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   1   WOLF, GREENFIELD & SACKS, P.C.
          Michael A. Albert (Admitted Pro Hac Vice)
   2
          Mass. B.B.O No. 558566
   3      malbert@wolfgreenfield.com
          Hunter D. Keeton (Admitted Pro Hac Vice)
   4      Mass. B.B.O No. 660609
   5      hkeeton@wolfgreenfield.com
          Stuart V. C. Duncan Smith (Admitted Pro Hac Vice)
   6      Mass. B.B.O No. 687976
   7      sduncansmith@wolfgreenfield.com
       600 Atlantic Avenue
   8   Boston, Massachusetts, 02210
   9   Tel: (617) 646-8000 Fax: (617) 646-8646
  10   PROCOPIO, CORY, HARGREAVES & SAVITCH LLP
          Victor M. Felix (SBN: 179622)
  11      victor.felix@procopio.com
  12   525 B Street, Suite 2200
       San Diego, California, 92101
  13   Tel: (619) 515-3229 Fax: (619) 744-5409
  14   Attorneys for Defendant and Counter Claimant Acacia Communications, Inc.
  15                              UNITED STATES DISTRICT COURT
  16                            SOUTHERN DISTRICT OF CALIFORNIA

  17   ViaSat, Inc.,                                           Case No. 3:16-cv-00463-BEN-JMA
       a Delaware corporation,
  18                                                           ACACIA COMMUNICATIONS,
  19                   Plaintiff                               INC.’S REPLY IN SUPPORT OF
                       and Counter Defendant,                  ACACIA’S MOTION FOR PARTIAL
  20                                                           SUMMARY JUDGMENT
       v.
  21                                                           REGARDING DAMAGES
       Acacia Communications, Inc.,
  22   a Delaware corporation,                                 REDACTED
  23
                       Defendant                               Judge: Hon. Roger T. Benitez
  24                   and Counter Claimant                    Mag. Judge: Hon. Jan M. Adler
  25
                                                               Date: February 20, 2018
  26                                                           Time: 10:30 a.m.
  27                                                           Courtroom: 5A

  28

       Acacia Communications, Inc.’s Reply in Support of Its                  Case No. 3:16-CV-00463-BEN-JMA
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       Acacia Communications, Inc.’s Reply in Support of Its                                       Case No. 3:16-CV-00463-BEN-JMA
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   1           The limitation of liability clause in the contract was negotiated by sophisticated
   2   parties through counsel. The clause is enforceable. ViaSat’s arguments to the contrary
   3   misread the Agreement (“Ag.”) and in some cases outright misrepresent case law.
   4           ViaSat alleges that courts refuse to enforce such clauses as to intentional torts
   5   (D.I. 103 (“Opp.”) at 8-10), but in fact courts do enforce them for anything “short of
   6   actual fraud”; as ViaSat has not alleged actual fraud, the limitation of liability should
   7   be enforced. NACCO Indus., Inc. v. Applica Inc., 997 A.2d 1, 35 (Del. Ch. 2009).
   8           Moreover, ViaSat has already received millions of dollars more than it ever
   9   anticipated from Acacia – almost twice as much as it initially sought for a fully paid-up
  10   license. Were it to prevail on the merits, it could potentially receive up to that same
  11   sum again, even under the limitation of liability clause it negotiated. Yet, in a quest for
  12   a windfall, ViaSat characterizes this number as unfair and seeks to void the clause.
  13   (Opp. at 10-13). Its position is unsupported. The clause should be enforced as written.
  14           ViaSat also seeks to circumvent the limitation clause by arguing that it can seek
  15   “unjust enrichment” damages in excess of any contractual damages, based on the same
  16   underlying facts. But the law prohibits such an end-run around a negotiated limitation
  17   clause. Yet ViaSat misrepresents the case law, claiming that its key case (Digital Envoy)
  18   holds the opposite of what it actually holds. That court, upon reconsideration,
  19   actually clarified that a plaintiff cannot obtain trade secret misappropriation remedies
  20   beyond what the relevant contract allows. (Ex. 89). ViaSat neglects to mention this
  21   subsequent holding, thus materially misleading this Court.
  22           ViaSat’s last set of arguments about the NDA also fail, as they contort the NDA
  23   and the Agreement. ViaSat again ignores the law, as California courts hold that
  24   expiration of confidentiality destroys trade secrets. See Silicon Image, Inc. v. Analogix
  25   Semiconductor, Inc., No. 07-635, 2008 WL 166950, at *17 (N.D. Cal. Jan. 17, 2008).
  26   I.      SECTION 13 OF THE AGREEMENT LIMITS VIASAT’S CLAIMS.
  27           A.    ViaSat’s Interpretation of Section 13 Is Wrong.
               ViaSat’s argument that Section 13 does not apply because Section 9
  28

       Acacia Communications, Inc.’s Reply in Support of Its            Case No. 3:16-CV-00463-BEN-JMA
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   1   incorporates the Agreement’s other obligations fails for several reasons. (Opp. at 5-8).
   2           First, ViaSat’s interpretation transforms a limited exception related to
   3   confidentiality into one that would nullify all of Section 13. Under ViaSat’s
   4   interpretation of Section 9’s reference to “use,” no alleged violation by Acacia of any
   5   obligation elsewhere in the Agreement (i.e., “use” of information received from the
   6   other party) would ever be subject to Section 13. Under Delaware law, courts will not
   7   interpret an exception to a limitation of liability to effectively delete the limitation of
   8   liability clause from the contract. See eCommerce Indus., Inc. v. MWA Intelligence, Inc., No.
   9   7471, 2013 WL 5621678, at *45 (Del. Ch. Sep. 30, 2013) (“The mere fact that MWA’s
  10   claim involves licensed intellectual property does not bring it within the [intellectual
  11   property or confidentiality] exception. If it did, then nearly any claim brought under
  12   the Agreement would fall under the exception as well, thus causing the exception to
  13   swallow the rule.”); see also D.I. 75, Mem. at 10-11.
  14           Second, ViaSat’s interpretation incorrectly seeks to apply the exception in
  15   Section 9 (and the NDA) to trade secret misappropriation. The exception cannot
  16   encompass tort claims, such as trade secret misappropriation, since the last part of
  17   Section 13 expressly limits tort liability. See, e.g., Am. Antenna Corp. v. Amperex Elec.
  18   Corp., 190 Ill. App. 3d 535, 539 (1989) (rejecting argument that “defendant’s breach of
  19   contract amounts to a breach of their confidential relationship and, thus, constitutes a
  20   misappropriation of trade secrets,” because “[t]he alleged breach of contract here is the
  21   failure to pay royalties and fees,” which is not misappropriation).
  22           Third, ViaSat conflates the alleged “use” of trade secrets with the “disclosure”
  23   prohibited in Section 9. Trade secret use is not disclosure. ViaSat never alleged that
  24   Acacia disclosed them, only that Acacia used them. Section 9 plainly does not apply.
  25           Fourth, ViaSat never alleged that Acacia breached Section 9, so as to bring that
  26   narrow exception to the liability limitation into play. Nothing in the Complaint alleges
  27   anything about Section 9. (D.I. 1-2 ¶¶ 21-23, 29). In its own motion for summary
  28   judgment, ViaSat never identifies “Confidential Information” (i.e., the information

       Acacia Communications, Inc.’s Reply in Support of Its            Case No. 3:16-CV-00463-BEN-JMA
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   1   protected by Section 9) as being at issue, and never asserted breach based on
   2   disclosure of Confidential Information. Section 9 simply is not “the basis of ViaSat’s
   3   claims.” (E.g., D.I. 98, Mem. at 9, 23-25; Opp. at 4).1
   4           B.    ViaSat Misstates the Law on Limitations of Liability.
   5           ViaSat misstates the law when it asserts that a party cannot contractually limit
   6   liability for “intentional” torts. ViaSat claims that Delaware law voids such limits as
   7   against public policy (Opp. at 8-10); but in fact, Delaware bars such clauses as to
   8   fraudulent conduct only, not as to mere intentional torts.2 “Delaware law generally
   9   elevates contract law over tort…. Delaware law enforces contractual provisions that
  10   eliminate the possibility of any tort liability short of actual fraud based on explicit
  11   written contractual representations.”3 NACCO, 997 A.2d at 35; see also Abry Partners
  12   V, L.P. v. F & W Acquisition LLC, 891 A.2d 1032, 1035, 1061-1064 (Del. Ch. 2006)
  13   (Delaware mandates that there is “no moral imperative to impinge on the ability of
  14   rational parties dealing at arms-length to shape their own arrangements,” absent fraud).
  15           ViaSat falsely states that “[n]one of the cases on which Acacia relies applies a
  16   contractual limitation of liability to intentional torts.” In fact, eCommerce Indus. (which
  17   Acacia cited at D.I. 75, Mem. at 5, 9-10) upholds a limitation of liability clause to the
  18   tort of “intentional interference” with contract, even where the alleged activity was
  19   “willful or [in] bad faith.” 2013 WL 5621678, at *37, *45. Indeed, “there does not
  20   appear to be any Delaware precedent for striking a limitation on contractual liability
  21   because of a party’s willful or bad faith breach of the contract.” Id. at *45.
  22           ViaSat’s cited Superior Court cases are not to the contrary. Both J.A. Jones
  23
       1
         Indeed, ViaSat repeatedly asserts that its rights include information developed jointly
  24   between ViaSat and Acacia. (D.I. 98, Mem. at 10, 12, 23). Yet Section 9 expressly
       applies only to information provided by the other party—meaning that ViaSat cannot
  25   assert breach based on information provided by Acacia or developed jointly. (Ag. § 9).
       2
  26     ViaSat cites only inapposite Delaware Superior Court cases. This Court should
       follow the Delaware Chancery Court, as it has expertise in commercial and contractual
  27   litigation, and a “national reputation in the business community.” An Overview of the
       Delaware Court System, https://courts.delaware.gov/overview.aspx.
  28   3
         Acacia adds emphasis and omits quotations and citations, except as noted.

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   1   Constr. Co. v. Dover, 372 A.2d 540, 545 (Del. Sup. Ct. 1977), and Data Mgmt.
   2   Internationalé, Inc. v. Saraga, No. 05-5108, 2007 WL 2142848, at *4-5 (Del. Sup. Ct. Jul.
   3   25, 2007), involve exculpatory clauses that insulate parties from all liability, rather than
   4   putting a cap on liability. Section 13 does not relieve Acacia from all liability. It just
   5   caps damages. Courts recognize this distinction. See Valhal Corp. v. Sullivan Assocs., Inc.,
   6   44 F.3d 195, 203-04 (3d Cir. 1995) (finding that “limitation of liability clauses are not
   7   disfavored…. [S]uch clauses are not subjected to the same stringent standards applied
   8   to exculpatory and indemnity clauses.”); Morris v. Zusman, 857 F. Supp. 2d 1082, 1096-
   9   97 (D. Or. 2012) (enforcing “negotiated agreements to cap available money damages at
  10   reasonable levels”); Youtie v. Macy’s Retail Holding, Inc., 653 F. Supp. 2d 612, 630 (E.D.
  11   Pa. 2009) (enforcing “limitation of liability clauses between sophisticated parties to the
  12   extent that they are reasonable and do not completely exonerate parties from liability
  13   for … intentional acts, regardless of whether the damages are pled in contract or in
  14   tort”); Farnham v. Superior Court (Sequoia Holdings, Inc.), 60 Cal. App. 4th 69, 74-75 (1997)
  15   (while “exemptions from all liability” may be void, “a limitation on liability for
  16   intentional wrongs” can be enforced (emphasis original)).
  17           In fact, courts consistently uphold limitation of liability clauses applying to
  18   misappropriation of trade secrets. For example, Morris granted the defendant
  19   summary judgment that a limitation of liability clause put a ceiling on the plaintiff’s
  20   trade secret damages, as it was not against California public policy. 857 F. Supp. 2d at
  21   1084, 1096-97 (enforcing “private, voluntary transactions in which one party, for a
  22   consideration, agrees to shoulder a risk which the law would otherwise have placed
  23   upon the other party.”). Similarly, Youtie applied a limitation of liability clause to limit
  24   trade secret damages. 653 F. Supp. 2d at 630.
  25           By contrast, the clause in J.A. Jones did not “address itself to possible damages
  26   for breaches,” i.e., is not a limitation of liability clause. 372 A.2d at 545. The court
  27   also stated that a “party may not protect itself against liability for its own fraudulent
  28   act or bad faith.” Id. This case (like others) draws the line of unenforceability at

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    1   fraudulent behavior and bad faith, not merely intentional conduct. Likewise, Delphi
    2   Petroleum v. Magellan Terminals Holdings, L.P., No. 12-2302, 2015 WL 3885947, at *24
    3   (Del. Sup. Ct. June 23, 2015) acknowledged that parties cannot “absolve themselves
    4   for their own conduct amounting to fraud.”
    5           ViaSat also suggests that California law will not require enforcement of a
    6   limitation of liability for intentional torts. (Opp. at 9 n.7). ViaSat again misstates the
    7   law, representing to this Court that a case holds the opposite of what it actually held.
    8   Digital Envoy4 granted summary judgment that even a fully exculpatory clause in a
    9   private contract is valid and covered a trade secret claim as a matter of law.
   10   Digital Envoy v. Google, Inc., No. 04-1497, D.I. 403 (N.D. Cal. Jan. 24, 2006) (Ex. 89).
   11   See id. at 6 (“Digital’s argument that Cal. Civ. Code § 1668 invalidates Section of the
   12   parties’ Agreement similarly fails since California courts have held that Section 1668
   13   applies only to contracts that involve the public interest and not private contracts.”).
   14           ViaSat’s reliance on other California cases is similarly misplaced. Embotelladora
   15   Electropura S.A. de C.V. v. Accutek Packaging Equipment Co. upheld a clause insulating the
   16   defendant from certain types of damages entirely, and capping any other damages.
   17   No. 16-724, 2017 WL 3288492, at *6-7 (S.D. Cal. Aug. 2, 2017) (rejecting the
   18   contention “that it must declare the entire [limitation of liability] provision
   19   unenforceable” where the provision did not limit liability for “fraud or
   20   misrepresentation”). Health Net of California, Inc. v. Department of Health Services
   21   exclusively pertains to exculpatory clauses, not limitation of liability clauses. 6 Cal.
   22   Rptr. 3d 235, 239-41 (Cal. App. 2003). Contrary to ViaSat’s assertion, California law
   23   enforces limitations of liability clauses in private contracts that apply to trade secret
   24   claims. Morris, 857 F. Supp. 2d at 1096-97; see also Tunkl v. Regents of Univ. of Cal., 60
   25   Cal. 2d 92, 101 (1963) (“[N]o public policy opposes private, voluntary transactions in
   26
   27   4
         ViaSat cites an earlier decision in this case, Digital Envoy, Inc. v. Google, Inc., No. 04-
        1497, 2005 WL 2999364 (N.D. Cal. Nov. 8, 2005), but as discussed below, the court
   28   reconsidered and reversed the portion of the decision that ViaSat relies on.

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    1   which one party, for a consideration, agrees to shoulder a risk which the law would
    2   otherwise have placed upon the other party….”); Farnham, 60 Cal. App. 4th at 74-75.
    3           C.    ViaSat Cannot Escape Its Negotiated Limitation of Liability
                      by Recasting Its Contract Claim as a Misappropriation Claim.
    4
                ViaSat’s attempts to sidestep the limitation of liability clause by arguing that its
    5
        claims “arise from [Acacia’s] violations” of Section 9 and the NDA (Opp. at 8) fail
    6
        because, on their face, these are contract-based allegations. As the Data Management
    7
        case (on which ViaSat relies) explains: “Under Delaware law, a plaintiff bringing a
    8
        claim based entirely upon a breach of the terms of a contract generally must sue in
    9
        contract, and not in tort.” 2007 WL 2142848, at *3. “Even an intentional, knowing,
   10
        wanton, or malicious action by the defendant will not support a claim if the plaintiff
   11
        cannot assert wrongful conduct beyond the breach of contract itself.” Id. ViaSat
   12
        concedes that the alleged wrongful conduct all comes from supposed violations of the
   13
        Agreement’s confidentiality provision and the NDA. There is no independent legal
   14
        duty that Acacia allegedly violated. In Ellis v. Tri State Realty Assocs. LP, No. 14-3051,
   15
        2015 WL 993438, at *8 (Del. Sup. Ct. Feb. 27, 2015), the court rejected a plaintiff’s
   16
        argument that its tort-based claims were not subject to a limitation of liability clause as
   17
        “[o]therwise [the plaintiff] could simply convert a breach of contract action into a
   18
        negligence action to avoid terms of the Contract.”
   19
                Moreover, ViaSat’s own Digital Envoy case – whose holding is the opposite of
   20
        what ViaSat states – cuts directly against ViaSat. That license agreement contained an
   21
        exculpatory clause. (Ex. 89 at 2-3). The plaintiff argued the clause applied only to its
   22
        contract claim but not its trade secret misappropriation claim. The court rejected that
   23
        argument as it would “undercut the purposes of [the clause] if it were to be interpreted
   24
        as limiting liability only for those losses resulting from breach of the contract.” Id.
   25
                D.    ViaSat’s Objection to the “Incentives” Created by the Contract
   26                 Ignores the Fact that It Actually Incentivized Acacia To Pay
                      ViaSat Millions More than ViaSat had Originally Expected.
   27           ViaSat argues that enforcing Section 13 could hypothetically have created a
   28   perverse incentive for Acacia to pay nothing, so as to lower the liability cap. (Opp. at

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    1   12-13). This is wrong for four reasons: First, it ignores the fact that Acacia had to, and
    2   did, pay ViaSat the full $3.2 million NRE due upon signing, or the contract would not
    3   have taken effect at all (due to lack of consideration, material breach, or fraudulent
    4   misrepresentation).5 At a bare minimum, therefore, the clause would have at least
    5   allowed recovery of up to $3.2 million.
    6           Second, it ignores that this term was negotiated by two sophisticated businesses,
    7   through counsel, who could determine for themselves what “incentives” to create.
    8           Third, as the actual course of dealings between the parties shows, Acacia was in
    9   fact incentivized to (and did) pay ViaSat over                (D.I. 75, Mem. at 2-4).
   10   Acacia undisputedly made all the royalty payments required in Section 4(b) in order to
   11   have a license to sell its Everest and K2 “Licensed Products.” Acacia had an incentive
   12   to pay, and did pay, these sums. The contract worked. Acacia has paid almost twice
   13   the highest amount ViaSat had ever quoted even for a fully-paid up license. (Id.).
   14   And if ViaSat were to prevail on the merits, it could collect up to that same sum a
   15   second time, for a total payment of four times its highest original expectation. In
   16   short, the cap is generous in comparison to ViaSat’s own contemporaneous
   17   assessment of its technology’s value – an assessment ViaSat never disputes in its
   18   Opposition.6 These are not the hallmarks of an agreement with “perverse” incentives.
   19           Fourth, clauses that limit liability to the amount paid under a contract are
   20   commonplace. Multiple cases uphold them. See, e.g., Column Form Tech., Inc. v. Caraustar
   21   Indus., Inc., No. 12C-09-050, 2014 WL 2895507, at *5 (Del. Super. Jun. 10, 2014)
   22   (finding limitation of liability reasonable where limited to amounts paid under
   23   contract); RHA Constr., Inc. v. Scott Eng’g, Inc., No. 11C03013, 2013 WL 3884937, at *8
   24   (Del. Super. July 24, 2013) (same); Bernstein v. GTE Directories Corp., 827 F.2d 480 (9th
   25
        5
   26     Acacia even paid an additional          to cover ViaSat’s cost overruns. (D.I. 75,
        Mem. at 2-4).
   27   6
          ViaSat’s argument that the development fee would be “an absurdly low cap, relative
        to the value of ViaSat’s IP” is unfounded. (Opp. at 12 n.9). ViaSat could have
   28   negotiated better terms in the Agreement if it felt such an outcome was “absurd.”

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    1   Cir. 1987) (affirming enforcement of clause limiting liability to amounts paid, and
    2   denying lost profits damages).7 They even appear in generic contract guides.8 These
    3   run-of-the-mill contractual clauses are enforceable—particularly as between large and
    4   sophisticated commercial parties (ViaSat is a publicly-traded company with a market
    5   capitalization of $4 billion) represented by counsel.
    6   II.     VIASAT CANNOT RECOVER UNJUST ENRICHMENT
                DAMAGES IN EXCESS OF THE LIMITATION CLAUSE.
    7
                ViaSat’s entire section on this point (Opp. at 13-19) misses the mark, as it
    8
        addresses a position Acacia never took. Acacia never disputed that the UTSA
    9
        authorizes recovery for “unjust enrichment caused by misappropriation.” CAL. CIV.
   10
        CODE § 3426.3(a); 6 DEL. CODE § 2003(a). Acacia never sought to dismiss ViaSat’s
   11
        trade secret misappropriation claim on this ground. D.I. 75, Mem. at 12-14.
   12
                To the extent ViaSat makes any relevant argument here, it is the contention that,
   13
        where the parties have a contract governing their relationship, courts have permitted
   14
        unjust enrichment damages for trade secret misappropriation to exceed the contractual
   15
        damages. But that contention is false.
   16
                ViaSat’s lead case is Digital Envoy, Inc. v. Google, Inc., No. 04-1497, 2005 WL
   17
        2999364 (N.D. Cal. Nov. 8, 2005). (Opp. at 14). But as noted above, ViaSat fails to
   18
        tell this Court that the Digital Envoy court reconsidered its opinion, and issued a
   19
        new one that confirms Acacia’s position. (Ex. 89). The new opinion found that an
   20
        agreement between the parties applied to plaintiff’s claim for unjust enrichment under
   21
        California’s trade secret act. Id. at 1-2. The plaintiff was “precluded from recovering
   22
   23   7
          See also Food Safety Net Servs. v. Eco Safe Sys. USA, Inc., 209 Cal. App. 4th 1118, 1127
   24   (2012) (enforcing limitation of liability clause for “total amount paid by [defendant] to
        [plaintiff] for the services herein covered.”); World-Link, Inc. v. Citizens Telecomm. Co.,
   25   No. 99-2054. 2000 WL 1877065, at *3 (S.D.N.Y. Dec. 26, 2000) (interpreting a
        limitation of liability clause reading, “[Party’s] sole liability under this Agreement…
   26   shall be limited to the amount of actual [Party] charges incurred.”).
        8
          See, e,g., https://www.lawinsider.com/usage/limitation-of-liability-clause-uses-in-
   27   independent-contractor-agreement; http://www.ecomputerlaw.com/negotiating-a-
        vendors-limitation-of-liability-clause/; http://smallbusiness.chron.com/limitation-
   28   liability-service-contracts-61788.html.

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    1   for any unjust enrichment earned by [defendant] as a result of its alleged trade secret
    2   misappropriation based on the limitation of liability provision set forth in … the
    3   parties’ License Agreement.” Id. at 6. The court thus enforced a clause even stricter
    4   than the one here – one that excepted only willfulness. Id. at 6-7. The court dismissed
    5   plaintiff’s entire trade secret misappropriation claim due to the lack of any available
    6   remedy. Id. Acacia’s summary judgment motion is far narrower, and the clause’s
    7   effect on ViaSat’s claims is much less severe—the Court would only be enforcing a
    8   negotiated provision that caps damages at more than                .9
    9           ViaSat’s last-ditch argument is that Section 13 does not apply to “unlicensed”
   10   uses (Opp. at 16-19). But by its express terms, Section 13 applies to “the total
   11   cumulative liability of either party under this agreement.” (Ag. § 13). All of ViaSat’s
   12   claims arise “under this agreement.” Indeed, ViaSat acknowledges elsewhere that even
   13   its trade secret claims arise under the contract, saying that “Acacia was limited by
   14   contract to only use those trade secrets in products for which Acacia paid ViaSat a
   15   royalty.” (D.I. 98, Mem. at 25). ViaSat cites no contrary case law.10
   16   III.    THE NDA LIMITS VIASAT’S MISAPPROPRIATION CLAIM.
   17           Separate and apart from the liability cap, the NDA’s five-year confidentiality
   18   term limits any ViaSat damages to the period prior to expiration of the confidentiality
   19   obligation. (D.I. 75, Mem. at 14-20). ViaSat’s counterarguments on this point fail.
   20           ViaSat’s argument that Section 9 of the Agreement extends the 5-year
   21   confidentiality term of the NDA is wrong. (Opp. at 20-21). The NDA limited secrecy
   22
        9
   23     ViaSat’s other cases are not to the contrary. In B. Braun Med., Inc. v. Rogers, 163 F.
        Appx. 500, 502, 506 (9th Cir. 2006), there was no executed agreement and thus no
   24   analysis of remedies available where an agreement limits the remedy. (Also, as an
        unpublished disposition issued prior to Jan. 1, 2007, ViaSat’s citation to this case
   25   violates Ninth Circuit Rule 36-3 and should be disregarded.) Similarly, the contracts in
        Agilent Techs., Inc. v. Kirkland, No. 3512, 2010 WL 610725 (Del. Ch. Feb. 18, 2010) and
   26   Total Care Physicians, P.A. v. O’Hara, 798 A.2d 1043 (Del. Sup. Ct. 2001) lacked any
        limitation of liability provisions, and thus do not assess how such a clause operates.
   27   10
           MIG Invs. LLC v. Aetrex Worldwide, Inc. declined to dismiss an alternative equitable
        unjust enrichment claim because the existence of a contract was disputed, which is not
   28   an issue here. 852 F. Supp. 2d 493, 512-13 (D. Del. 2012).

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    1   to five years from the date of disclosure. Nothing in Section 9 changes that. (D.I.
    2   103, Ex. 1 § 14; Ag. at § 9).
    3           ViaSat’s argument about Acacia’s counterclaims (Opp. at 21-22) is also wrong at
    4   least due to ViaSat’s interrogatory asking not when Acacia disclosed its trade secrets to
    5   ViaSat—the relevant date under the NDA—but rather “the circumstances by which
    6   the ‘trade secret’ was communicated or disclosed to Acacia.” (D.I. 103, Ex. 38 at 4).
    7            ViaSat’s citation to Medtronic MiniMed, Inc. v. Nova Biomedical Corp. (Opp. at 23)
    8   actually helps Acacia. The companies there signed five NDA agreements, but only
    9   one with an expiring confidentiality term. No. 08-788, 2009 WL 10671420, at *1-3
   10   (C.D. Cal. May 22, 2009). The expiration of that one alone did not preclude trade
   11   secret protection. Id. at *5 (expiring agreement “combined with” one that did not).
   12           Finally, ViaSat simply ignores the many cases holding that a lapsed
   13   confidentiality obligation extinguishes trade secret protection. (Opp. at 24 n.16; see
   14   Mem. at 17-18). Contrary to ViaSat’s suggestion, California has also adopted this rule.
   15   See Silicon Image, 2008 WL 166950, at *17 (“courts have denied trade secret protection
   16   where… the information was disclosed under a non-disclosure agreement with only a
   17   limited duration.”); see also Medtronic, 2009 WL 10671420, at *5 (noting rule in Silicon
   18   Image). ViaSat lost its trade secrets when the confidentiality term of the NDA ended.
   19                                             CONCLUSION
   20           For the above reasons and those in its opening memorandum (D.I. 75, Mem.),
   21   Acacia respectfully requests that the Court grant its summary judgment motion.
   22   Date: February 13, 2018                                 Respectfully Submitted,
   23
                                                                WOLF, GREENFIELD & SACKS, P.C.
   24
                                                                By: s/Michael A. Albert
   25
                                                                Michael A. Albert
   26                                                           Hunter D. Keeton
                                                                Stuart V. C. Duncan Smith
   27
   28                                                           Attorneys for Defendant and Counter
                                                                Claimant Acacia Communications, Inc.
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    1                                   CERTIFICATE OF SERVICE
    2
               I certify that today I caused to be served the redacted version of the foregoing
    3   document by CM/ECF notice of electronic filing upon the parties and counsel
        registered as CM/ECF Users. I further certify that am causing the redacted and
    4
        unredacted versions of the foregoing document to be served by electronic means via
    5   email upon counsel for ViaSat, Inc., per the agreement of counsel.
    6
    7   Date: February 13, 2018                                 s/Michael A. Albert
                                                                Michael A. Albert
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